                     Case 4:05-cr-00003-JRH-CLR Document 158 Filed 06/26/15 Page 1 of 1
AO 247 (10/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. §3582(c)(2)       Page I of (Page 2 Not for Public Disclosure)


                                                           UNITED STATES DISTRICT COURT                                     U. S . DI
                                                                                    for the                                             STRICT
                                                                                                                                SAV41 g1oyRT
                                                                    Southern District of Georgia
                                                                        Savannah Division                                          JUN26
                        United States of America
                                                                                       )                            CLERK
                                        V.
                                                                                       )
                                                                                                                        S5 OlS OF
                                                                                       )
                                                                                           Case No: 4:05CR00003-2
                            Niyonu Spaulding                                           )
                                                                                           USMNo: 12179-02:1
                                                                                       )


Date of Original Judgment:                  January 12, 2006                           )
                                                                                           Robert Rosenblum
Date of Previous Amended Judgment: February 2, 2012                                    )
                                                                                           Defendant's Attorney
(Use Dale of Last Amended Judgment, if any)

                                          Order Regarding Motion for Sentence Reduction Pursuant lo 18 U.S.C. § 3582(c)(2)


             Upon motion of Ei1the defendant Elithe Director of the Bureau of Prisons [lithe court under 18 U.S.C.

§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § 1B1.10 and
the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,


IT IS ORDERED that the motion is:
    DENIED. EjGRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in the last judgment
issued) of        165        months is reduced to               time served


                                                    (Complete Parts I and II of Page 2 when in otion is granted)




Except as otherwise provided above, all provisions of the judgment dated                           January 12, 2006           sh 11 re in in effect,
IT IS SO ORDERED.

Order Date:                   0
                                                                                                                   Judge's signature



                                                                                            Dudley H. Bowen, Jr.
Effective Date: November 1, 2015                                                            United States District Judge
                 (if different front order dale)                                                                Printed flame and title
